Case 1:15-cv-05708-CBA-VMS Document 70 Filed 11/15/17 Page 1 of 3 PageID #: 525



                                UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF NEW YORK

                                                                        1:15-cv-5708-CBA-VMS
  TODD C. BANK, Individually and on
  Behalf of All Others Similarly Situated,

                                                    Plaintiff,

                           -against-

  LIFEWATCH INC. and LIFEWATCH SECURITY INC.,
  each doing business as Lifewatch-USA, and
  SAFE HOME SECURITY, INC.,

                                                    Defendants.


                                DECLARATION OF TODD C. BANK

         1.      I am the plaintiff in the above-captioned matter, and submit this declaration in response

 to the Order of this Court dated October 25, 2017 (NEF), which stated, full: “On July 14, 2017, the

 Honorable Vera M. Scanlon, United States Magistrate Judge, ordered the parties to file a revised

 proposal for a joint pre-trial order by August 11, 2017. (D.E. # [64] at 1.) More than two months

 have passed since the deadline, and no proposed order has been filed. Accordingly, the Court

 ORDERS Plaintiff to SHOW CAUSE, no later than November 15, 2017, why it should not dismiss

 the case for failure to prosecute” (emphasis in original).

         2.      On November 14, 2017, the parties filed a stipulation (Dkt. No. 68) stating that

 “Plaintiff wishes to try the case and, notwithstanding the lack of timely filing of a joint pre-trial order,

 Defendant consents to a trial date being ordered.”

         3.      On November 15, 2017, the parties filed a joint pre-trial order (Dkt. No. 69).

         4.      I recognize that the above-described filings do not necessarily constitute a response

 to the Order to Show Cause, and, therefore, I hereby inform the Court that, due to my work on some

 other cases that have been taking up an inordinate amount of my time during the past several months,

 beginning well before the August 11, 2017, due date of the joint pre-trial order, I kept attending to
Case 1:15-cv-05708-CBA-VMS Document 70 Filed 11/15/17 Page 2 of 3 PageID #: 526



 those other matters while waiting for the pressure of them to subside, at least temporarily, before

 addressing the joint pre-trial order. Although this is my explanation, I do not consider it to be an

 excuse in the sense that my failure to timely file the joint pre-trial order was beyond my control. In

 addition, Joseph Lipari, counsel to Defendants Lifewatch Inc. and Lifewatch Security Inc. (summary

 judgment having been granted to the other defendants), was not in any part responsible for either the

 failure to timely file the joint pre-trial order nor the considerable delay in my filing of it.

         5.      Based upon the foregoing, I do not see a basis for contending that a dismissal would

 be unfair or improper, and I leave it to the judgment of this Court as to whether the parties’

 stipulation and the late filing of the joint pre-trial order warrants the continuation of the case.

         Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true and

 correct.

                                                                     s/ Todd C Bank
                                                                   Todd C. Bank
                                                                   Executed on November 15, 2017
Case 1:15-cv-05708-CBA-VMS Document 70 Filed 11/15/17 Page 3 of 3 PageID #: 527



                                   CERTIFICATE OF SERVICE

           I hereby certify that on November 15, 2017, a true and accurate copy of the foregoing
 document is being filed electronically via the Court’s electronic-case-filing (ECF) system. Notice of
 this filing will be sent to all parties by operation of the Court’s ECF system and copies will be mailed
 to those parties, if any, who are not served via the Court’s ECF system.

 Dated: November 15, 2017

                                                                  s/ Todd C. Bank
                                                                 Todd C. Bank
